     Case 8:21-cv-00094-DOC-JDE Document 43 Filed 11/17/21 Page 1 of 1 Page ID #:187



 1                                  UNITED STATES DISTRICT COURT

 2                               CENTRAL DISTRICT OF CALIFORNIA

 3
      WATER FOR LIVING, LLC, a Delaware                   Case No.: 8:21-cv-00094-DOC (JDE)
 4    Limited Liability Company,
                                                          ASSIGNED FOR ALL PURPOSES TO
 5             Plaintiff,                                 JUDICIAL OFFICER: Hon. David O. Carter

 6        v.                                              ORDER TO EXTEND FACT DISCOVERY
                                                          DEADLINE AND MODIFY EXPERT
 7    GFORCE CORPORATION d/b/a DFX                        DISCOVERY DISCLOSURE DATES
      SPORTS & FITNESS LLC, a Nevada
 8    corporation; CENTURY TREE SERVICE,
      INC., a California corporation; and TOM
 9    SMITH, an individual in California,

10    FLOYD TOM SMITH, an individual in
      California,
11
               Counter Claimant,
12
          v.
13
      WATER FOR LIVING, LLC, a Delaware
14    Limited Liability Company,

15             Counter Defendant.

16
                                                  ORDER
17
               This Court has reviewed and considered the above stipulation among the parties. Based
18
       on the representations and the declaration submitted therewith, and for good cause shown, it is
19
               hereby ORDERED that the Scheduling Order (Dkt. 36) is modified as follows:
20
               1. The deadline for non-expert discovery shall be extended to December 21, 2021;
21
               2. Expert disclosures, if any, shall be made by December 21, 2021; and
22
               3. Discovery Motions shall be made by December 26, 2021.
23
               These modifications do not change any other existing scheduling deadlines, including the
24
      pretrial conference and trial dates.
25
               IT IS SO ORDERED.
26
27    DATED: November 17, 2021                     By:
                                                         Judge David O. Carter
28



                                                                                     .
